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7
                   IN THE UNITED STATES DISTRICT COURT FOR THE
8
                           EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                  ) 1:07-cr-0016 AWI
11                                              )
                         Plaintiff,             )
12                                              )
          v.                                    ) ORDER
13                                              )
                                                )
14   JUAN LUIS ALEMAN, and                      )
     JOSE RANGEL-GARCIA,                        )
15                                              )
                    Defendants.                 )
16   __________________________________)
17
          Having read and considered the parties’ stipulation to
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     continue the current sentencing date of November 24, 2008, to
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     January 26, 2008, in this matter,
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          IT IS THE ORDER of the Court that the current sentencing
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     date is hereby continued to January 26, 2009, at 11:00 a.m.
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23
24   IT IS SO ORDERED.
25   Dated:    November 18, 2008               /s/ Anthony W. Ishii
     0m8i78                           CHIEF UNITED STATES DISTRICT JUDGE
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